Case:18-10274-SDB Doc#:21 Filed:02/27/18 Entered:02/27/18 11:17:53                   Page:1 of 3


                     IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE SOUTHERN DISTRICT OF GEORGIA
                                AUGUSTA DIVISION

In re:                                                  Chapter 11

FIBRANT, LLC, et al., 1                                 Case No. 18-10274 (SDB)

         Debtors.                                       (Joint Administration Requested)

 NOTICE OF APPEARANCE AND DEMAND FOR NOTICES AND SERVICE OF PAPERS

          PLEASE TAKE NOTICE that the below attorneys enter their appearance, pursuant to

 section 1109(b) of chapter 11 of title 11 of the United States Code (the “Bankruptcy Code”) and

 Rule 9010(b) of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), on behalf

 of Chemtrade Chemicals US LLC and Chemtrade Chemicals Corporation (collectively,

 “Chemtrade”). The below attorneys request, pursuant to Bankruptcy Rules 2002, 3017, and 9007,

 and sections 342, 1102(a)(1), and 1109(b) of the Bankruptcy Code, that copies of all notices and

 pleadings given or filed in this case be given and served at the addresses, facsimile numbers, or

 electronic mail addresses set forth below.

                           Brian F. McEvoy                Gregory M. Leitner
                          Matthew S. Knoop                POLSINELLI PC
                          POLSINELLI PC                     Liberty Tower
                    1201 West Peachtree Street NW         605 Chestnut Street
                              Suite 1100                       Suite 900
                          Atlanta, GA 30309          Chattanooga, TN 37450-0011
                      Telephone: (404) 253-6000       Telephone: (423) 321-7901
                      Facsimile: (404) 253-6060       Facsimile: (423) 321-7917
                       bmcevoy@polsinelli.com          gleitner@polsinelli.com
                       mknoop@polsinelli.com

          PLEASE TAKE FURTHER NOTICE that, pursuant to section 1109(b) of the Bankruptcy

 Code, the foregoing demand includes not only the notices and papers referred to in the Bankruptcy

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          The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s
 federal tax identification number are: Fibrant, LLC (6694); Evergreen Nylon Recycling, LLC
 (7625); Fibrant Center South, LLC (8270); and Georgia Monomers Company, LLC (0042).


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Case:18-10274-SDB Doc#:21 Filed:02/27/18 Entered:02/27/18 11:17:53                      Page:2 of 3


Rules specified above but also includes, without limitation, any notice, application, complaint,

demand, motion, petition, pleading, or request, whether formal or informal, written or oral, and

whether transmitted or conveyed by mail, delivery, electronically, telephone, telegraph, telex, or

otherwise filed or made with regard to the referenced case and proceedings therein.

         PLEASE TAKE FURTHER NOTICE that neither this notice of appearance nor any

subsequent appearance, pleading, claim or suit is intended or shall be deemed to waive Chemtrade’s

(i) right to have final orders in non-core matters entered only after de novo review by a higher court;

(ii) right to trial by jury in any proceeding so triable; (iii) right to have the reference withdrawn in

any matter subject to mandatory or discretionary withdrawal; or (iv) other rights, claims, actions,

defenses, setoffs, or recoupments to which Chemtrade is or may be entitled under agreements, in

law, or in equity, all of which rights, claims, actions, defenses, setoffs, and recoupments are

expressly reserved.

Dated: February 27, 2018                       POLSINELLI PC

                                               /s/ Brian F. McEvoy_________________
                                               Brian F. McEvoy (GA Bar No. 490845)
                                               Matthew S. Knoop (GA Bar No. 140870)
                                               1201 West Peachtree Street NW, Suite 1100
                                               Atlanta, GA 30309
                                               Telephone: (404) 253-6023
                                               Facsimile: (404) 506-9349
                                               bmcevoy@polsinelli.com
                                               mknoop@polsinelli.com

                                               -and-

                                               Christopher A. Ward
                                               222 Delaware Avenue, Suite 1101
                                               Wilmington, Delaware 19801
                                               Telephone: (302) 252-0920
                                               Facsimile: (302) 252-0921
                                               cward@polsinelli.com

                                               -and-


                                                 2
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Case:18-10274-SDB Doc#:21 Filed:02/27/18 Entered:02/27/18 11:17:53   Page:3 of 3



                                    Gregory M. Leitner
                                    Liberty Tower
                                    605 Chestnut Street, Suite 900
                                    Chattanooga, TN 37450-0011
                                    Telephone: (423) 321-7901
                                    Facsimile: (423) 321-7917
                                    gleitner@polsinelli.com

                                    Counsel to Chemtrade




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